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                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

BRIAN HOLZGRAFE,                                    )
         Counter-Plaintiff                          )
                                                    )
       vs.                                          )        No.: 3:18-cv-03077-SEM-KLM
                                                    )
DANIEL R. LOZIER, II                                )
           Counter-Defendant                        )

 RESPONSE TO HOLZGRAFE’S PARTIAL MOTION FOR SUMMARY JUDGMENT

       NOW COMES, Counter-Defendant Daniel R. Lozier, II, (“Lozier”) by and through

counsel, and in response to Counter-Plaintiff Brian Holzgrafe’s (“Holzgrafe”) Partial Motion for

Summary Judgment states as follows:

   A. Introduction

       While Holzgrafe’s Motion solely seeks a ruling that Lozier published a certain defamatory

per se statement to his mother, Cindy Lozier, and girlfriend, Abby Moore, Holzgrafe’s Motion

misstates what Lozier exactly said to his mother and girlfriend, contains several allegations that

are immaterial to the one issue raised by the Motion; and contains several more allegations that

are immaterial to the entire lawsuit. Nonetheless, while Lozier finds it necessary to respond to

Holzgrafe’s Motion for the sake of clarifying the above-referenced items, Lozier does not object

to the sole prayer actually sought in Holzgrafe’s Motion: a ruling that Lozier made statements to

his mother and girlfriend that may be considered defamatory per se.

   B. Response to Holzgrafe’s Undisputed Material Facts

       Holzgrafe’s Motion lists twelve “Undisputed Material Facts.” Of those twelve, Lozier

believes those facts are either: Undisputed Material Facts, Disputed Material Facts, Disputed

Immaterial Facts; or Undisputed Immaterial Facts. Specifically, Lozier’s position on Holzgrafe’s

twelve asserted facts is as follows:
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Undisputed Material Facts

1. At all relevant times including the 2016-2017 academic year, Holzgrafe was the Men’s
   and Women’s Head Tennis Coach at QU.

3. In 2007, Holzgrafe and his wife, Rebeca, were married.

4. Holzgrafe is still married to Rebecca Holzgrafe.

5. Lozier knew that Holzgrafe was married.

Disputed Material Facts

6. Lozier told his mother, Cindy Lozier, that Holzgrafe had sex with Jane Doe, another
   QU student tennis player.

   a. Lozier disputes this to the extent it inaccurately paraphrases the statement Lozier
      made to his mother. Testimony shows Lozier in fact stated, “Vayser just told me
      that Coach had sex with [Jane Doe] on spring break.” Ex 1 - Cindy Lozier Depo
      46:12-22.

7. Lozier told Abby Moore of the allegation that Holzgrafe had sex with Jane Doe.

   a. Lozier disputes this to the extent it inaccurately paraphrases the statement Lozier
      made to his girlfriend. Testimony shows Lozier in fact stated, “Danyil Vayser told
      me that Coach and [Jane Doe] had sex over spring break.” Ex. 2 - Abby Moore
      Depo 9:25-10:1.

10. The statement about Jane Doe, made by Lozier, was false and Lozier had no evidence
    of the truth of this statement.

   b. Lozier disputes this assertion due to its vagueness. Assuming that “the statement
      about Jane Doe” refers to the two separate, alleged statements Lozier made to his
      mother and girlfriend, the testimony from both Cindy and Abby establishes what
      Lozier told them each was true. Specifically, Lozier told each of them that Danyil
      Vayser told him a rumor that Holzgrafe had sex with [Jane Doe] over spring break.
      Ex. 1 - Cindy Lozier Depo 46:12-22; Abby Moore Depo 9:25-10:1. While Lozier
      does not dispute that what Vayser told Lozier was false, Lozier truthfully stated that
      Vayser told him that rumor.

Disputed Immaterial Facts

2. During the 2016-2017 academic year, Lozier was a member of the Men’s Tennis
   Program at QU.
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   a. While Lozier admits he was a member of the Men’s Tennis Program at QU for part
      of the 2016-2017 academic year, Lozier was suspended by Holzgrafe during the
      season and was therefore not a member the entire academic year. Ex 3 - QU 139;
      Ex. 4 - Holzgrafe Depo 59:6-19. Nonetheless, this subject is immaterial to whether
      Lozier publicized a defamatory per se statement to his mother and girlfriend and
      also the lawsuit as a whole.

9. On April 10, 2017, Cindy Lozier called QU’s Dean of Students and Academic Success,
   Dr. Christine Tracy, and informed her of the allegations that Holzgrafe was having sex
   with Jane Doe.

   a. While Lozier does not dispute that Cindy Lozier called Dr. Christine Tracy on April
      10, 2017, Lozier disputes that Cindy Lozier stated “that Holzgrafe was having sex
      with Jane Doe.” The cited testimony from Holzgrafe’s Motion supports that Cindy
      relayed to Dr. Tracy that “Danyil Vayser had just told [Daniel Lozier] a rumor that
      [Holzgrafe] had sex with a female tennis player on a recent tennis trip to Ft. Myers,
      Florida.” Ex. 5 - Cindy Lozier Affidavit at ¶ 3. Holzgrafe’s inaccurate paraphrasing
      of the testimony is also immaterial to the lone issue at hand, and also immaterial to
      the lawsuit as a whole on its face as it alleges a non-party made a defamatory
      publication – not Lozier.

Undisputed Immaterial Facts

8. Lozier knew that the allegation that Holzgrafe had sex with Jane Doe was a very serious
   allegation that could jeopardize somebody’s career.

   a. While Lozier does not dispute this conclusion, it is immaterial to the sole issue at
      hand of whether Lozier publicized a defamatory per se statement to his mother and
      girlfriend; and is immaterial to the lawsuit as a whole due it being vague and
      conclusory.

11. Cindy Lozier called Marty Bell, QU’s Athletic Director, to inform him of the
    allegations that Holzgrafe had sex with Jane Doe.

   a. While Lozier does not dispute the fact that Cindy Lozier called Marty Bell, that fact
      is immaterial to the lawsuit as a whole and the sole issue raised by Holzgrafe’s
      Motion of whether Lozier publicized a defamatory per se statement to his mother
      and girlfriend by stating Danyil Vayser told him a rumor that Holzgrafe and [Jane
      Doe] had sex over spring break.

12. Sam Lathrop, QU’s Director of Safety & Security                                      ,
    received phone calls from Dr. Christine Tracy and Marty Bell regarding the allegation
    that Holzgrafe had sex with Jane Doe,                                 .

   a. While Lozier does not dispute the fact that Bell and Dr. Tracy called Sam Lathrop,
      it is immaterial to the lawsuit as a whole and the sole issue raised by Holzgrafe’s
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               Motion of whether Lozier publicized a defamatory per se statement to his mother
               and girlfriend by stating Danyil Vayser told him a rumor that Holzgrafe and [Jane
               Doe] had sex over spring break.

   C. Argument

       As Lozier states in his Introduction, Lozier has no objection to Holzgrafe’s ultimate prayer.

Rather, this Response simply seeks to ensure the relevant facts at hand are accurately reported, and

the irrelevant and immaterial facts raised by Holzgrafe are reported as objectionable.

       It is undisputed that the testimony at issue establishes Lozier told Abby Moore and Cindy

Lozier that Danyil Vayser told Lozier the rumor that Holzgrafe and Jane Doe had sex over spring

break. Notably, however, Holzgrafe’s Motion is silent as to the specifics of these publications –

including the fact that Lozier told his mother and girlfriend the source of the rumor. Lozier

recognizes this clarification does not absolve him of liability from a defamatory per se perspective,

but Lozier does dispute Holzgrafe’s paraphrasing of the publications at issue.

       Lozier also disputes the materiality of several of the alleged “material facts” Holzgrafe lists

in his Motion for Summary Judgment. As stated above, many of those “facts” have nothing to do

with the sole issue raised in this Motion. Others, such as Cindy Lozier’s later publications, have

nothing to do with Holzgrafe’s legal claims against Daniel Lozier at all. Similarly,

              has nothing to do with whether Lozier publicized anything to Cindy or Abby. Those

“material facts” are raised simply to insinuate Lozier should be liable for the actions of others, and

not for the purpose of establishing whether Lozier made publications.

       Did Lozier publicize to Abby and Cindy that Vayser told Lozier a rumor that Holzgrafe

and Jane Doe had sex on spring break? Yes. As a result, a finding that Lozier is liable for

publicizing a defamatory per se statement to his mother and girlfriend is justified. A finding that

Lozier is liable for damages caused by statements that Cindy, Abby, or Holzgrafe himself
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publicized is not, and Holzgrafe’s attempts to insinuate that by raising those non-party publications

as “material facts” in his Motion is inappropriate.



Filed: June 15, 2023                          /s/ Donald M. Craven____________
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                                 CERTIFICATE OF SERVICE

             I, the undersigned, on June 16, 2023, electronically filed this document with the United
States District court, Central District of Illinois which will send electronic notification to each of
the following:

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                                                       /s/ Maralee Hanners
